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                                           STATEMENT OF FACTS

          On October 16, 2019, Officer Justin Rogers of the Metropolitan Police Department (MPD) obtained
District of Columbia Superior Court Search Warrant 2019 CSW 5348 for the location of 213 Mississippi Avenue,
SE Apt. 202 in Washington, D.C. Officer Rogers obtained the search warrant after obtaining information from a
concerned citizen that the citizen had seen a shotgun inside the bedroom of Daniel Hurey at 213 Mississippi Avenue,
SE Apt. 202 on October 14, 2019. The concerned citizen identified Daniel Hurey with a date of birth of 5/18/1996
and Officer Rogers confirmed that Daniel Hurey has a prior felony conviction. Officer Rogers also confirmed via
multiple databases, including WALES/NCIC, Columbo and JUSTIS that Daniel Hurey resides at 213 Mississippi
Avenue, SE. Apt. 202 in Washington, D.C.

         On October 17, 2019 at approximately 6:57 a.m., officers from the MPD NSID GRU executed search
warrant 2019 CSW 5348 at 213 Mississippi Avenue, SE Apt. 202 in Washington, D.C. The location is a two-
bedroom apartment. Upon entry, officers found the defendant Daniel Hurey (hereinafter Defendant Hurey) in one of
the bedrooms with a female. There was no one else in the apartment. The apartment appeared to be occupied by
Defendant Hurey. There was male clothing in the apartment but no female clothing. Mail matter for Defendant
Hurey was located in the apartment.

         During the search of the apartment, officers recovered a firearm. The firearm recovered was a black H&R
1871 Pardner pump shotgun bearing serial number NZ727296. The firearm was not loaded with any ammunition.
The firearm was located in plain view on the top shelf of a closet in the second bedroom, which was not occupied.
After officers recovered the firearm, Defendant Hurey said that the firearm did not work and that the barrel was
missing.

         Officers recovered an additional shotgun barrel from the kitchen area of the apartment. Officers also
recovered ammunition from the T.V. stand in the living room including 8 rounds of shotgun shells, 21 rounds of .45
caliber ammunition and 1 empty Glock magazine.

         A WALES/NCIC check of Defendant Hurey revealed that the defendant has previously been convicted of a
crime punishable by imprisonment for a term exceeding one year. A criminal history check of Defendant Hurey
through the National Crime Information Center confirmed that the defendant has a prior felony conviction in the
Circuit Court for Montgomery County, Maryland for Armed Robbery, case number 128334C.

         There are no firearm and ammunition manufacturers in the District of Columbia. Accordingly, your affiant
believes that the firearm and ammunition traveled in interstate commerce before their possession by the defendant on
October 17, 2019.



                                                     _________________________________
                                                     OFFICER JAMES JACOBS
                                                     METROPOLITAN POLICE DEPARTMENT


SWORN AND SUBSCRIBED BEFORE ME ON THE _____ DAY OF OCTOBER, 2019.


                                                              ___________________________________
                                                              ROBIN M. MERIWEATHER
                                                              U.S. MAGISTRATE JUDGE
